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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF SOUTH CAROLINA
                               CHARLESTON DIVISION
                           CASE NUMBER: 2:23-CV-02384-RMG

 TYCO FIRE PRODUCTS LP,


                                        Plaintiff,
                        v.

 AIU INSURANCE COMPANY, et al.

                                     Defendants.

         JOINT MOTION TO DISMISS DEFENDANT TIG INSURANCE COMPANY

         Pursuant to Federal Rule of Civil Procedure 41(a)(2), Plaintiff Tyco Fire Products LP

(‘Tyco”) and Defendant TIG Insurance Company (“TIG”) stipulate and jointly move for an

unopposed order of dismissal as follows:

         1.     By letter dated July 26, 2024, Tyco and TIG gave notice that they had reached a

settlement-in-principle of Tyco’s claims in this action. ECF No. 315.

         2.     Tyco and TIG have now finalized their settlement agreement.

         3.     Accordingly, Tyco and TIG jointly request that the Court enter an Order dismissing

Tyco’s claim against TIG with prejudice, in the form substantially similar to the enclosed Proposed

Order.

         4.     Tyco and TIG understand that no other party to this action opposes this motion.




                                                            Respectfully submitted,
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DATED: September 16, 2024

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